UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SARAH RANSOME,
                                          17-cv-616 (JGK)
                     Plaintiff,
                                          ORDER
          - against -
                                              USDC SONY
JEFFREY EPSTEIN, ET AL. ,                     DOCUMENT
                                              ELECTRONICALLY FILED
                    Defendants.               DOC#            I I
                                              DATE FILED:~~-Y{tfi~-----
JOHN G. KOELTL, District Judge:

     For the reasons stated on the record at the argument held

today, August 7, 2018, the motions to dismiss filed by Jeffrey

Epstein, Sarah Kellen, Lesley Groff, and Ghislaine Maxwell are

denied.

     The Clerk of Court is directed to close all pending motions.

SO ORDERED.

Dated:    New York, New York
          August 7, 2018



                                   United States District Judge
